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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


NOAH BEVERLY,

                Petitioner,

        v.                                               CASE NO. 2:05-CV-735
                                                         CRIM. NO. 2:99-CR-104(2)
                                                         JUDGE GRAHAM
                                                         Magistrate Judge King

UNITED STATES OF AMERICA,

                Respondent.

                                       OPINION AND ORDER

        On September 20, 2006, the Magistrate Judge issued a Report and Recommendation

recommending that all of petitioner’s claims, with the exception of his claim that his sentence

violated Blakely v. Washington, 542 U.S. 296 (2004), be dismissed. As to the Blakely claim, the

Magistrate Judge directed further briefing. Petitioner objects to the recommendation that most of

his claims be dismissed. Doc. No. 224. In his objections, petitioner again raises all of the same

arguments that were previously presented. Petitioner also expressly objects to the Magistrate

Judge’s recommendation regarding his claim of ineffective assistance of trial counsel due to his

attorney’s alleged failure to pursue a plea agreement. That recommendation was based, at least in

part, on a letter from petitioner to his trial attorney in which petitioner acknowledged that his trial

attorney had recommended that petitioner enter a guilty plea but that he had “absolutely no intention

of pleading guilty.” Report and Recommendation, at 17. Petitioner states in his objections that he

is illiterate and complains that there is no “official verification” that he wrote the letter. Objections,

at 3. Significantly, petitioner does not deny that he either wrote the letter or caused it to be written
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on his behalf. Petitioner again argues that an evidentiary hearing is warranted to resolve this and

all other issues raised in the petition.

        This Court is not persuaded by petitioner’s arguments. The Court specifically agrees with

the Magistrate Judge’s conclusion that, in view of the overwhelming evidence that petitioner’s trial

counsel discussed the possibility of a plea with him but that petitioner refused to consider any plea

offer and insisted on proceeding to trial, his claim that his trial attorney was ineffective in failing to

pursue a plea agreement, supported only by petitioner’s conclusory, after-the-fact affidavit, is

without merit.

        Pursuant to 28 U.S.C. 636(b)(1), this Court has conducted a de novo review of all those

portions of the Report and Recommendation objected to by petitioner. For the reasons detailed in

the Report and Recommendation, petitioner’s objections are OVERRULED.

        The Report and Recommendation is ADOPTED and AFFIRMED. All of petitioner’s

claims, with the exception of his claim that his sentence violated Blakely, are DISMISSED.

        It is so ORDERED.



                                                                 s/James L. Graham
                                                                  JAMES L. GRAHAM
                                                                  United States District Judge

DATE: November 28, 2006




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